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 1   PAUL J. RIEHLE (SBN 115199)                      THEODORE J. BOUTROUS JR. (SBN
     paul.riehle@faegredrinker.com                    132099)
 2   FAEGRE DRINKER BIDDLE & REATH                    tboutrous@gibsondunn.com
     LLP                                              RICHARD J. DOREN (SBN 124666)
 3   Four Embarcadero Center                          rdoren@gibsondunn.com
     San Francisco, CA 94111                          DANIEL G. SWANSON (SBN 116556)
 4   Telephone: (415) 591-7500                        dswanson@gibsondunn.com
     Facsimile: (415) 591-7510                        JAY P. SRINIVASAN (SBN 181471)
 5                                                    jsrinivasan@gibsondunn.com
     CHRISTINE A. VARNEY (pro hac vice)               GIBSON, DUNN & CRUTCHER LLP
 6   cvarney@cravath.com                              333 South Grand Avenue
     KATHERINE B. FORREST (pro hac vice)              Los Angeles, CA 90071-3197
 7   kforrest@cravath.com                             Telephone: 213.229.7000
     GARY A. BORNSTEIN (pro hac vice)                 Facsimile: 213.229.7520
 8   gbornstein@cravath.com
     YONATAN EVEN (pro hac vice)                      VERONICA S. MOYE (pro hac vice)
 9   yeven@cravath.com                                vlewis@gibsondunn.com
     LAUREN A. MOSKOWITZ (pro hac vice)               GIBSON, DUNN & CRUTCHER LLP
10   lmoskowitz@cravath.com                           2100 McKinney Avenue, Suite 1100
     M. BRENT BYARS (pro hac vice)                    Dallas, TX 75201
11   mbyars@cravath.com                               Telephone: 214.698.3100
     CRAVATH, SWAINE & MOORE LLP                      Facsimile: 214.571.2900
12   825 Eighth Avenue
     New York, New York 10019                         CYNTHIA E. RICHMAN (pro hac vice)
13   Telephone: (212) 474-1000                        crichman@gibsondunn.com
     Facsimile: (212) 474-3700                        GIBSON, DUNN & CRUTCHER LLP
14                                                    1050 Connecticut Avenue, N.W.
     Attorneys for Plaintiff and Counter-             Washington, DC 20036-5306
15   defendant Epic Games, Inc.                       Telephone: 202.955.8500
                                                      Facsimile: 202.467.0539
16   [Additional counsel appear on signature
     page]                                            Attorneys for Defendant and
17                                                    Counterclaimant Apple Inc.
18
                                UNITED STATES DISTRICT COURT
19
                             NORTHERN DISTRICT OF CALIFORNIA
20
                                        OAKLAND DIVISION
21

22   EPIC GAMES, INC.,                                  No. 4:20-CV-05640-YGR-TSH
23                    Plaintiff, Counter-defendant,     JOINT RESPONSE TO APRIL 16, 2021
24                                                      ORDER (ECF NO. 458)
                          vs.                           Trial Date: May 3, 2021
25
                                                        Time: 8:00 a.m.
26   APPLE INC.,                                        Courtroom: 1, 4th Floor
                                                        Judge: Hon. Yvonne Gonzalez Rogers
27                    Defendant, Counterclaimant.
28

                            JOINT RESPONSE TO APRIL 16, 2021 ORDER
                                 Case No.: 4:20-cv-05640-YGR-TSH
       Case 4:20-cv-05640-YGR Document 459 Filed 04/19/21 Page 2 of 4



 1                  Pursuant to the Court’s April 16, 2021 Order (ECF No. 458), the Parties have met

 2   and conferred regarding logistics for providing daily public access to the exhibits that are admitted

 3   during the course of the trial. The Parties recommend that the Parties jointly arrange and maintain

 4   a repository at a third-party file sharing service (e.g., Box) for admitted trial exhibits. The

 5   repository would be publicly accessible through a link that may be published by the Court and

 6   distributed by the Parties. After an exhibit is admitted into the record, the Party introducing such

 7   exhibit may upload the exhibit to the repository, and each Party shall after the close of trial each

 8   day upload all exhibits it has introduced on that trial day and shall do so no later than 5:00 p.m.

 9   The Parties will redact from the exhibits any specific information that has been sealed by the Court

10   and any sensitive personal information that a Party or witness has requested to redact (e.g., home

11   addresses or telephone numbers).

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                               JOINT RESPONSE TO APRIL 16, 2021 ORDER
                                    Case No.: 4:20-cv-05640-YGR-TSH
      Case 4:20-cv-05640-YGR Document 459 Filed 04/19/21 Page 3 of 4


     Dated: April 19, 2021               CRAVATH, SWAINE & MOORE LLP
 1                                           Christine A. Varney
                                             Katherine B. Forrest
 2                                           Gary A. Bornstein
                                             Yonatan Even
 3                                           Lauren A. Moskowitz
                                             M. Brent Byars
 4
                                         FAEGRE DRINKER RIDDLE & REATH
 5                                       LLP
                                             Paul J. Riehle
 6

 7                                       By:   s/Katherine B. Forrest
                                               Katherine B. Forrest
 8

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12
                                         GIBSON, DUNN & CRUTCHER LLP
13                                           Theodore J. Boutrous Jr.
                                             Richard J. Doren
14                                           Daniel G. Swanson
                                             Mark A. Perry
15                                           Veronica S. Moye
16
                                               s/ Theodore J. Boutrous Jr.
17
                                         j
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                             JOINT RESPONSE TO APRIL 16, 2021 ORDER
                                  Case No.: 4:20-cv-05640-YGR-TSH
       Case 4:20-cv-05640-YGR Document 459 Filed 04/19/21 Page 4 of 4



 1                                ECF SIGNATURE ATTESTATION

 2          In accordance with Civil Local Rule 5-1, the filer of this document hereby attests that the
 3
     concurrence of the filing of this document has been obtained from the other signatory hereto.
 4
      Dated: April 19, 2021                      CRAVATH, SWAINE & MOORE LLP
 5

 6                                               By:    s/ Katherine B. Forrest
                                                        Katherine B. Forrest
 7
                                                       Attorneys for Plaintiff and
 8                                                     Counter-defendant Epic Games, Inc.

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                              JOINT RESPONSE TO APRIL 16, 2021 ORDER
                                   Case No.: 4:20-cv-05640-YGR-TSH
